            CaseApplication
   AO 106A (08/18) 5:20-mj-00345-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    07/06/20
                                                                                    Means         Page 1 of 44 Page ID #:1

                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                               Central District
                                                          __________            ofof
                                                                          District California
                                                                                     __________
                    In the Matter of the Search of                            )
            (Briefly describe the property to be searched or identify the     )
                            person by name and address)                       )      Case No. 5:20-MJ-00345
      Apple iPhone X with serial number F17VXBKJJCL8 )
      and IMEI 353045095087407; Scandisk SD data card, )
      seized from a camera bag in Giovanni Dagostino’s                        )
      bedroom; Apple MacBook Laptop, model A1708                              )
      with serial number FVFVT1GXHV29 and FCC ID                              )
      BCGA1708; and X-Box 1 gaming device with serial                         )
      number 313316452948 and FCC ID C3K1525                                  )
       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                      evidence of a crime;
                      contraband, fruits of crime, or other items illegally possessed;
                      property designed for use, intended for use, or used in committing a crime;
                      a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
               Code Section                                                       Offense Description
              18 U.S.C. § 2252A(a)(2)                                Distribution/Receipt of Child Pornography
              18 U.S.C. § 2252A(a)(5)(B)                             Possession of Child Pornography
             The application is based on these facts:
                  See attached Affidavit
                    Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                  ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                   Applicant’s signature

                                                                                        Jannah R. Holden, Special Agent NCIS
                                                                                                   Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: July 6, 2020
                                                                                                   Judge’s signature

City and state: Riverside, CA                                                    Hon. Kenly Kiya Kato, U.S. Magistrate Judge
                                                                                                   Printed name and title

AUSA: Eli Alcaraz, (951) 276-6938/aj
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                             ATTACHMENT A

PROPERTY TO BE SEARCHED

     The following digital devices (the “SUBJECT DEVICES”), were

seized on or about April 15, 2020 and are currently maintained

in the custody of the San Bernardino Sheriff’s Office in San

Bernardino, California:

     1.   Apple iPhone X with serial number F17VXBKJJCL8 and

IMEI 353045095087407;

     2.   Scandisk SD data card, seized from a camera bag in

Giovanni DAGOSTINO’s bedroom;

     3.   Apple MacBook Laptop, model A1708 with serial number

FVFVT1GXHV29 and FCC ID BCGA1708; and

     4.   X-Box 1 gaming device with serial number 313316452948

and FCC ID C3K1525.
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                             ATTACHMENT B
I.   ITEMS TO BE SEIZED

     1.   The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 18 U.S.C.

§§ 2252A(a)(2) (distribution/receipt of child pornography) and

2252A(a)(5)(B) (possession of child pornography) (the “Subject

Offenses”), namely:

          a.    Child pornography, as defined in 18 U.S.C.

§ 2256(8).

          b.    Records, documents, programs, applications, or

materials, including electronic mail and electronic messages,

that refer to child pornography, as defined in 18 U.S.C.

§ 2256(8), including documents that refer to the possession,

receipt, distribution, transmission, reproduction, viewing,

sharing, purchase, downloading, production, shipment, order,

requesting, trade, or transaction of any kind, involving child

pornography.

          c.    Records, documents, programs, applications, or

materials, including electronic mail and electronic messages,

tending to identify persons involved in the possession, receipt,

distribution, transmission, reproduction, viewing, sharing,

purchase, downloading, production, shipment, order, requesting,

trade, or transaction of any kind, involving child pornography,

as defined in 18 U.S.C. § 2256.

          d.    Records, documents, programs, applications, or

materials, including electronic mail and electronic messages,
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that identify any minor visually depicted while engaging in

sexually explicit conduct, as defined in 18 U.S.C. § 2256.

          e.    Records, documents, programs, applications, or

materials or items which are sexually arousing to individuals

who are interested in minors, but which are not in and of

themselves obscene or which do not necessarily depict minors

involved in sexually explicit conduct.       Such material is

commonly known as “child erotica” and includes written materials

dealing with child development, sex education, child

pornography, sexual abuse of children, incest, child

prostitution, missing children, investigative techniques of

child exploitation, sexual disorders, pedophilia, nudist

publications, diaries, and fantasy writings.

          f.    Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to
show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls for the period of March 15,

2019 to April 15, 2020;
          g.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which concern the Subject Offenses;

          h.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to
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show instant and social media messages (such as Facebook,

Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written

communications sent to or received from any digital device and

which concern the Subject Offenses;

          i.    Audio recordings, pictures, video recordings, or

still captured images concerning the Subject Offenses;

          j.    Records, documents, programs, applications, or

materials, including electronic mail and electronic messages,

that pertain to accounts with any Internet Service Provider.

          k.    Calendars and/or date books for the time period

of March 15, 2019 through April 15, 2020; and

          l.    Any SUBJECT DEVICE which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.
          m.    With respect to any SUBJECT DEVICE containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were
created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,
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as well as evidence of the presence or absence of security

software designed to detect malicious software;

                iii. evidence of the attachment of other devices;

                iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                v.      evidence of the times the device was used;

                vi.     passwords, encryption keys, and other access

devices that may be necessary to access the device;

                vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                viii.        records of or information about

Internet Protocol addresses used by the device;
                ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.
     2.   As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.
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II.   SEARCH PROCEDURE FOR THE SUBJECT DEVICE(S)

      3.   In searching the SUBJECT DEVICE(S) (or forensic copies

thereof), law enforcement personnel executing this search

warrant will employ the following procedure:

           a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) may

search any SUBJECT DEVICE capable of being used to facilitate

the above-listed violations or containing data falling within

the scope of the items to be seized.

           b.   The search team will, in its discretion, either

search each SUBJECT DEVICE where it is currently located or

transport it to an appropriate law enforcement laboratory or

similar facility to be searched at that location.

           c.   The search team shall complete the search of the

SUBJECT DEVICE(S) as soon as is practicable but not to exceed

120 days from the date of issuance of the warrant.         The

government will not search the digital device(s) beyond this

120-day period without obtaining an extension of time order from

the Court.

           d.   The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each SUBJECT DEVICE capable of containing any of

the items to be seized to the search protocols to determine

whether the SUBJECT DEVICE and any data thereon falls within the

scope of the items to be seized.      The search team may also
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search for and attempt to recover deleted, “hidden,” or

encrypted data to determine, pursuant to the search protocols,

whether the data falls within the scope of the items to be

seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques, including to search for known images of child

pornography.

           e.   If the search team, while searching a SUBJECT

DEVICE, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,
the team shall immediately discontinue its search of that

SUBJECT DEVICE pending further order of the Court and shall make

and retain notes detailing how the contraband or other evidence

of a crime was encountered, including how it was immediately

apparent contraband or evidence of a crime.
           f.   If the search determines that a SUBJECT DEVICE

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the SUBJECT DEVICE and delete or destroy all forensic copies

thereof.

           g.   If the search determines that a SUBJECT DEVICE

does contain data falling within the list of items to be seized,
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the government may make and retain copies of such data, and may

access such data at any time.

          h.    If the search determines that the SUBJECT DEVICE

is (1) itself an item to be seized and/or (2) contains data

falling within the list of other items to be seized, the

government may retain the digital device and any forensic copies

of the digital device, but may not access data falling outside

the scope of the other items to be seized (after the time for

searching the device has expired) absent further court order.

          i.    The government may also retain a SUBJECT DEVICE

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files
contained therein is/are encrypted.

          j.    After the completion of the search of the SUBJECT

DEVICE(S), the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.
     4.   The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the
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custody and control of attorneys for the government and their

support staff for their independent review.

      5.   During the execution of this search warrant, law

enforcement is permitted to (1) depress Giovanni DAGOSTINO’s

thumb- and/or fingers onto the fingerprint sensor of the SUBJECT

DEVICES (only if the device has such a sensor), and direct which

specific finger(s) and/or thumb(s) shall be depressed; and (2)

hold the device in front of Giovanni DAGOSTINO’s face with his

or her eyes open to activate the facial-, iris-, or retina-

recognition feature, in order to gain access to the contents of

any such device.     In depressing a person’s thumb or finger onto

a device and in holding a device in front of a person’s face,

law enforcement may not use excessive force, as defined in

Graham v. Connor, 490 U.S. 386 (1989); specifically, law
enforcement may use no more than objectively reasonable force in

light of the facts and circumstances confronting them.

      6.   The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.
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                                AFFIDAVIT

I, JANNAH R. HOLDEN, being duly sworn, declare and state as

follows:
                        I. PURPOSE OF AFFIDAVIT

      1.   This affidavit is made in support of an application

for a warrant to search four digital devices (collectively, the

“SUBJECT DEVICES”), in the custody of the San Bernardino

Sheriff’s Department, in San Bernardino, California, as

described more fully in Attachment A.

      2.   The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of 18

U.S.C. §§ 2252A(a)(2) (distribution/receipt of child

pornography) and 2252A(a)(5)(B) (possession of child

pornography) (the “Subject Offenses”), as described more fully

in Attachment B.     Attachments A and B are incorporated herein by

reference.    This application for a search warrant is part of my

investigation into Giovanni Paul DAGOSTINO (“DAGOSTINO”)

concerning the Subject Offenses.

      3.   The facts set forth in this affidavit are based on my

personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended merely to show that there

is sufficient probable cause for the requested search warrant

and does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.
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                       II. BACKGROUND OF AFFIANT

      4.   I am a Special Agent with the Naval Criminal

Investigative Service (“NCIS”) and have been so employed since

September 2017.    I am currently assigned to a Family and Sexual

Violence position within the NCIS Residence Agency Ventura

Office in Port Hueneme, California.         I received a Bachelor of

Science degree in Criminal Justice from Old Dominion University

in Norfolk, Virginia and a Master of Science degree in

Criminology from Boston University in Boston, Massachusetts.            I

served in the United States Navy and honorably separated in 2004

at the rank of Petty Officer Second Class.         I thereafter worked

for seven years with the Federal Bureau of Investigation in

Norfolk, Virginia and Los Angeles, California.          During my time

with the FBI, I completed the Staff Operations Specialists

Analyst Training Program at the FBI Academy, Quantico, Virginia.

During my last year employed with the FBI, I was a member with

the Evidence Response Team and received 40 hours of training in

the collection of evidence.      Since beginning employment with

NCIS, I have also completed the Criminal Investigator Training

Program at FLETC in Glynco, Georgia, as well as NCIS’s Special

Agent Basic Training Program.       I also serve as the NCIS

Residence Agency Ventura representative to the Ventura County

Cyber Crimes Against Children (“CCAC”) working group.           The

working group includes members of the Ventura County Sheriff’s

Department, Homeland Security Investigations, Ventura Police

Department, Ventura County Probation Department, Oxnard Police

Department, Simi Valley Police Department, and Port Hueneme



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Police Department.     As an NCIS Special Agent assigned to the

CCAC working group, I investigate criminal violations concerning

child exploitation and child pornography, including the

production, distribution, receipt, and possession of child

pornography, in violation of 18 U.S.C. §§ 2252 and 2252A.
                            III. DEFINITIONS

      5.   The following definitions apply to this affidavit and

Attachment B:

           a.    “Chat” refers to any kind of text communication

over the Internet that is transmitted in real-time from sender

to receiver.    Chat messages are often short, to enable the

participants to respond quickly, and in a format that resembles

an oral conversation.     These characteristics distinguish

chatting from other text-based online communications such as

posting to Internet forums and sending email.

           b.    “Child erotica” means materials or items that are

sexually arousing to persons having a sexual interest in minors,

but that are not necessarily obscene or do not necessarily

depict minors in sexually explicit poses or positions.

           c.    “Child pornography” is defined in 18 U.S.C.

§ 2256(8) as any visual depiction of sexually explicit conduct

where (a) the production of the visual depiction involved the

use of a minor engaged in sexually explicit conduct, (b) the

visual depiction is a digital image, computer image, or

computer-generated image that is, or is indistinguishable from,

that of a minor engaged in sexually explicit conduct, or (c) the

visual depiction has been created, adapted, or modified to



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appear that an identifiable minor is engaged in sexually

explicit conduct.

           d.    “Computer” is defined in 18 U.S.C. § 1030(e)(1)

as "an electronic, magnetic, optical, electrochemical, or other

high-speed data processing device performing logical or storage

functions and includes any data storage facility or

communications facility directly related to or operating in

conjunction with such device" and includes smartphones, and

mobile phones and devices.

           e.    “Computer hardware” consists of all equipment

that can receive, capture, collect, analyze, create, display,

convert, store, conceal, or transmit electronic, magnetic, or

similar computer impulses or data.          Computer hardware includes

any data-processing devices, including central processing units,

internal and peripheral storage devices such as fixed disks,

external hard drives, floppy disk drives and diskettes, and

other memory storage devices; peripheral input/output devices,

including keyboards, printers, video display monitors, and

related communications devices such as cables and connections;

and any devices, mechanisms, or parts that can be used to

restrict access to computer hardware, including physical keys

and locks.

           f.    “Computer passwords and data security devices”

consist of information or items designed to restrict access to

or hide computer software, documentation, or data.          Data

security devices may consist of hardware, software, or other

programming code.     A password, which is a personalized string of



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alphanumeric characters, usually operates as what might be

termed a digital key to “unlock” data security devices.           Data

security hardware may include encryption devices, chips, and

circuit boards.    Data security software of digital code may

include programming code that creates “test” keys or “hot”

 keys, which perform certain pre-set security functions when

touched.   Data security software or code may also encrypt,

compress, hide, or “booby-trap” protected data to make it

inaccessible or unusable, as well as reverse the process to

restore it.

           g.     “Internet Protocol address” or “IP address”

refers to a unique number used by a computer or other digital

device to access the Internet.       Every computer connected to the

Internet is assigned an IP address so that Internet traffic sent

from and directed to that computer may be directed properly from

its source to its destination.       IP addresses can be “dynamic,”

meaning that the Internet Service Provider, as defined below,

assigns a different unique number to a computer every time it

accesses the Internet.      IP addresses might also be “static,” if

an Internet Service Provider assigns a user's computer a

particular IP address that is used each time the computer

accesses the Internet.      From my training and experience, I know

that any computer that accesses the Internet must do so through

an Internet Service Provider.       The Internet Service Provider

identifies the computer during the connection session by

assigning it an IP address.      This number is typically attached

to all messages that come to and go from the computer.



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           h.    “Internet Service Providers” (“ISPs”) are

commercial organizations that are in business to provide

individuals and businesses with access to the Internet.           ISPs

provide a range of functions for their customers including

access to the Internet, web hosting, email, remote storage, and

co-location of computers and other communications equipment.

Most ISPs control a range of IP addresses.

           i.    “Minor” is defined in 18 U.S.C. § 2256(1) as any

person under the age of eighteen.

           j.    “Mobile applications” are small, specialized

programs, downloaded onto mobile devices that enable users to

perform a variety of functions, including engaging in online

chat, reading books, or playing games.

           k.    “Records,” “documents,” and “materials,” include

all information recorded in any form, visual or aural, and by

any means, whether in handmade, photographic, mechanical,

electrical, electronic, or magnetic form.

           l.    “Remote Computing Service” are defined in 18

U.S.C. § 2711(2) as the provision to the public of computer

storage or processing services by means of an electronic

communications system.

      6.   “Visual depiction” is defined in 18 U.S.C. § 2256(5)

and includes undeveloped film and videotape, data stored on

computer disc or other electronic means, which is capable of

conversion into a visual image, and data that is capable of

conversion into a visual image that has been transmitted by any

means, whether or not stored in a permanent format.



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 IV. BACKGROUND ON CYBERTIPS OBTAINED BY THE NATIONAL CENTER FOR
                    MISSING AND EXPLOITED CHILDREN

      7.   The National Center for Missing and Exploited Children

(“NCMEC”) was established in 1984 as a private, nonprofit

organization.    NCMEC provides services nationwide for families

and professionals concerning abducted, endangered, and sexually

exploited children.     Under its mission and its congressional

authorization, NCMEC operates a CyberTip line, which is

essentially a forum for private citizens and businesses to

report information concerning the mission of the NCMEC,

including the sexual exploitation of children.

      8.   Under 18 U.S.C. § 2258A, if an ISP such as Google

locates the presence of child pornography in a user’s account

with Google, a CyberTip Report must be submitted to NCMEC.

While ISPs such as Google will report the presence of any child

pornography they find to NCMEC, they do not conduct an

exhaustive search of, for example, a user’s email account or

cloud storage.    Instead they typically use some automated method

for locating images of suspected child pornography.          This may

include the use of automated technologies that compare the hash

values of images contained in the user’s account to the hash

values of known images of child pornography.

      9.   When NCMEC receives a CyberTip Report concerning the

sexual exploitation of children, NCMEC analysts conduct

preliminary research to determine the possible location of the

incident, and then forward the information to the appropriate




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Internet Crimes Against Children task force or the appropriate

law enforcement agency for a follow-up investigation.
                      V. SUMMARY OF PROBABLE CAUSE

      10.     On December 19, 2019, NCMEC released CyberTips (“CT”)

to law enforcement, which were eventually directed to the

Ventura County Sheriff’s Department, in particular, Detective

Nora Soler.      On January 2, 2020, Detective Soler reached out to

me regarding her investigation into CT 60181910 and CT 59703458

along with twenty-three other CTs.          All these CTs were sent to

NCMEC by Google.

      11.     Per Detective Soler, CT 60181910 contained 16 files

that had been uploaded to Google’s platform.          CT 60181910 states

that Google became aware of the 16 reported files when they were

stored on Google’s infrastructure, specifically Google Drive.

Detective Soler determined the files were child pornography.

She learned the subscriber information for the account with

Google that is associated with CT 60181910.          The account in

question belongs to “Giovanni DAGOSTINO” with email account

G.Phizzlee@gmail.com (“ACCOUNT 1”), which uses a recovery email

address of Giovannidagostino3@gmail.com (“ACCOUNT 2”).

      12.     Per Detective Soler, CT 59703458 contained 113 files

that had been uploaded to Google’s platform.          CT 59703458 states

that Google became aware of the 113 reported files when they

were stored on Google’s infrastructure, specifically Google

Drive.      Detective Soler determined the files were child

pornography.      She learned the subscriber information for the

account with Google that is associated with CT 59703458.           The



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account in question belongs to “Gio DAGOSTINO” with email

account giovannisailor5@gmail.com (“ACCOUNT 3”), which uses a

recovery email address of Giovannidagostino3@gmail.com (ACCOUNT

2).

      13.   There are 23 additional CTs that refer back to some

combination of ACCOUNTS 1-3.

      14.   Through investigation into the IP addresses in the

CTs, law enforcement was able to determine that DAGOSTINO is the

likely user of ACCOUNTS 1-3 and that as of April 2020, he was

living in Victorville, California.
                    VI. STATEMENT OF PROBABLE CAUSE

      15.   Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

      16.   Google LLC is an Electronic Communication Service

Provider and/or ISP.     Under 42 U.S.C. § 13032, Google is

required to report child pornography on its platforms, as soon

as it is reasonable, through NCMEC’s CT process.          NCMEC is a

national clearinghouse that gathers information about missing

and exploited children for law enforcement use.          NCMEC forwards

information from its CT to law enforcement agencies for

investigation and disposition, which it is required to do under

congressional mandate.

      17.   Members of the Los Angeles Internet Crimes Against

Children Task Force (the “LA Task Force”) can access NCMEC’s

virtual private network and download CTs, including videos and

images that were reported with a CT and that contain suspected



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child pornography.      The Ventura County District Attorney’s

Office, San Bernardino Sheriff’s Department, and Ventura County

Sheriff’s Department are affiliates of the LA Task Force.           The

LA Task Force sends the Ventura County District Attorney’s

Office, San Bernardino Sheriff’s Department, and Ventura County

Sheriff’s Department CTs when the LA Task Force determines that

the conduct underlying a CT likely took place in one of the

corresponding counties.

      18.     On December 19, 2019, NCMEC released CTs to law

enforcement, which were eventually directed to the Ventura

County Sheriff’s Department, in particular, Detective Nora

Soler, by the LA Task Force.       On January 2, 2020, Detective

Soler reached out to me regarding her investigation into CT

60181910 and CT 59703458 along with twenty-three other CTs.            All

these CTs were sent to NCMEC by Google.
      A.      CT 60181910

      19.     Detective Soler received CT 60181910 from the LA Task

Force.      CT 60181910 contains 16 files that had been uploaded to

Google Drive with the first access on approximately April 27,

2019.      Detective Soler determined the images were child

pornography.      That CT concerned the Google account for “Giovanni

DAGOSTINO,” with associated screenname “Giovanni DAGOSTINO,”

with email G.Phizzlee@gmail.com (ACCOUNT 1), and with a recovery

email address of Giovannidagostino3@gmail.com (ACCOUNT 2).           The

phone number used during the creation of the Google user account

is (773) 524-0688 (“DAGOSTINO’s Phone”).




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      20.   I reviewed the 16 files accompanying CT 60181910 and

they generally show prepubescent girls orally copulating adult

men and mature penises being used to sodomize infant girls.

      21.   For example, one of the files accompanying CT 60181910

is named Google-CT-RPT-c26e0c6e1ea5c57c8125e5cb1b16b63a-2017-06-

2019.03.43.jpg.    That image is of 16 thumbnail images, which

appear to be screenshots of a video that were then put together

into a collage that became the subject file.         The thumbnail

images show a young female child, approximately 5-7 years old,

on what appears to be a bed.       She is initially dressed until the

third thumbnail on the top row, where she is then naked from the

waist down and her vagina is visible.        Review of the subsequent

thumbnail images confirms that she lacks any pubic hair

development.    The first thumbnail in the left hand side of the

second row shows an unknown adult man holding his erect penis.

In later thumbnails, there appears to be a flashlight

illuminating the young girl’s genitals, while the unknown adult

man attempts to penetrate the child’s genitals.          The third

thumbnail in the third row shows the adult man inserting his

penis into the child.     The last row of thumbnails also shows the

adult man inserting his penis into the child.         The final

thumbnails appear to show a thick white, milky substance on her

abdomen.    That substance appears consistent with semen.

      22.   As part of the CT to NCMEC, Google captured the IP

addresses used by the “Giovanni DAGOSTINO” account user to log

into the user profile when the suspected child pornography was

accessed.    Some of those IP addresses were:



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            a.    2600:6c51:637f:faa0:cc8:74a7:22b7:fac2,

            b.    2600:6c51:637f:faa0:7ca9:dc7d:4fc1:f482,

            c.    2600:6c51:637f:faa0:ddd2:4edc:1820:cd03, and

            d.    2605:e000:1419:2293:694f:aae8:80db:e190.

      23.   Detective Soler used law enforcement databases to

determine these IP addresses were issued by Charter

Communications.    Charter Communications internet is commonly

known to subscribers as Spectrum.       Of these four IP addresses,

the following returned to a latitude and longitude in the city

of Hesperia, which is within San Bernardino County:

            a.    2600:6c51:637f:faa0:cc8:74a7:22b7:fac2,

            b.    2600:6c51:637f:faa0:7ca9:dc7d:4fc1:f482, and

            c.    2600:6c51:637f:faa0:ddd2:4edc:1820:cd03.

      24.   The following IP address returned to a latitude and

longitude in the city of Camarillo, which is within Ventura

County: 2605:e000:1419:2293:694f:aae8:80db:e190.

      25.   Based on my training and experience, I believe that

the IP addresses are most likely dynamic, because it is more

cost effective for the Internet Service Provider.          In other

words, the IP address used when the user of the “Giovanni

DAGOSTINO” account logs on will likely change if the user

reboots the router.

      26.   Based on the information Detective Soler received from

the CT, she contacted FBI Special Agent Nathaniel Hines and

requested his assistance in the investigation.          Agent Hines

authored an administration subpoena requesting that Charter




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Communications (Spectrum) provide the customer/subscriber

information for some IP addresses listed in the CT.

        27.    The name, address, and phone number of the Charter

Communications (Spectrum) subscriber associated with the four IP

addresses listed above are either Juan Barajas with address

18315 Par Lane, Victorville, California 92395 (the “Victorville

Address”) with phone number (562) 842-7415, or Giovanni

DAGOSTINO with address 294 Calle La Granda, Unit C, Camarillo,

California 93010 (the “Camarillo Address”) with phone number

(773) 524-0688 (DAGOSTINO’s Phone).          The first three IP

addresses listed above (2600:6c51:637f:faa0:cc8:74a7:22b7:fac2,

2600:6c51:637f:faa0:7ca9:dc7d:4fc1:f482, and

2600:6c51:637f:faa0:ddd2:4edc:1820:cd03) returned to the

Victorville Address. 1       The fourth IP address listed above

(2605:e000:1419:2293:694f:aae8:80db:e190) returned to the

Camarillo Address.
      B.       CT 59703458

      28.      Detective Soler received CT 59703458 from the LA Task

Force.       CT 59703458 contains 113 files that had been uploaded to

Google Drive with the first access on approximately July 31,

2019.       Detective Soler determined the images were child

pornography.       That CT concerns the Google account for “Gio

DAGOSTINO,” with associated screenname “Gio DAGOSTINO,” with

email giovannisailor5@gmail.com (ACCOUNT 3), and with a recovery

email address of Giovannidagostino3@gmail.com (ACCOUNT 2).           The

        1
       Earlier in this affidavit, the coordinates for this IP
address were said to come from Hesperia, at least according to
the CT. Hesperia is a neighboring city to Victorville.


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phone number used during the creation of the Google user account

is (773) 524-0688 (DAGOSTINO’s Phone).

      29.   I reviewed the 113 files accompanying CT 59703458 and

they generally show prepubescent girls orally copulating adult

men and mature penises entering the vagina and/or anus of

prepubescent girls.

      30.   For example, three of the files accompanying CT

59703458 are named sofia-003.jpg, sofia-006.jpg, and sofia-

039.jpg.    They appear to be a series of three images depicting

the same prepubescent female child.

            a.    In image sofia-003.jpg, the female child is

completely naked with her vaginal area visible. She appears to

be approximately 4-6 years old based on the apparent size of her

body compared to her surroundings, the lack of muscle

development or definition, the lack of discoloration of her

genitals, lack of pubic hair development, and the lack of breast

development.     In the image the child is holding up one of her

lets and her vagina is visible.

            b.    In image sofia-006.jpg, the same female child is

clothed, on her knees, and has her mouth open. There is a thick

white, milky substance on her lips and mouth that appears

consistent with semen.      An adult left foot (presumably male) is

seen in the lower left corner of the image and the flooring is

also consistent with sofia-003.jpg.

            c.    In image sofia-039.jpg, the same female child is

seen from a wider angle than in sofia-006.jpg.          She is clothed,

on her knees, and has the same fluid on her mouth, which appears



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consistent with semen.      Two adult feet are seen at the bottom of

the image and surroundings, flooring, and child are consistent

with sofia-003.jpg and sofia-006.jpg.

      31.   As part of the CT to NCMEC, Google captured the IP

addresses used by the “Gio DAGOSTINO” account user to log into

the user profile when the suspected child pornography was

accessed.    Some of those IP addresses were:

            a.   2600:6c51:637f:faa0:b02e:b005:54fd:429f,

            b.   2600:6c51:637f:faa0:6c8b:641a:a228:b503, and

            c.   2600:6c51:607f:ca15:295a:71ff:9e5b:5824.

      32.   Detective Solder used law enforcement databases to

determine these IP addresses were issued by Charter

Communications (Spectrum).      Further, the following IP address

from the CT returned to a latitude and longitude in the city of

Camarillo, which is within Ventura County:

2605:e000:1419:a33:dc33:7c3a:df03:29b1.

      33.    Based on my training and experience, I believe that

the IP addresses are most likely dynamic, because it is more

cost effective for the ISP.      In other words, the IP address used

when the user of the “Gio DAGOSTINO” account logs on will change

if the user reboots the router.

      34.   Based on the information Detective Soler received from

the CTs, she contacted Agent Nathaniel Hines and requested his

assistance in the investigation.       Agent Hines authored an

administration subpoena requesting that Charter Communications

(Spectrum) provide the customer/subscriber information for some

IP addresses listed in the CT.



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      35.   The name, address, and phone number of the Charter

Communications (Spectrum) subscriber associated with at least

some of the IP addresses in the administrative subpoena are

either Juan Barajas at the Victorville Address with phone number

(562) 842-7415, or Amanda Dagostino at the Camarillo Address

with phone number (773) 524-0688 (DAGOSTINO’s Phone).           For

example, IP address 2600:6c51:607f:ca15:295a:71ff:9e5b:5824

returned to the Victorville Address and

2605:e000:1419:a33:dc33:7c3a:df03:29b1 returned to the Camarillo

Address.
      C.    25 Total CTs Were Referred to Detective Soler

      36.   As part of this investigation, Detective Soler also

received 23 additional CTs.      The CTs refer to some combination

of ACCOUNTS 1-3.

      37.   The following CTs are associated with

giovannisailor5@gmail.com (ACCOUNT 3) and further list

Giovannidagostino3@gmail.com (ACCOUNT 2) along with (773) 524-

0688 (DAGOSTINO’s Phone) on each tip.

            a.   59856187

            b.   59703458 (described above)

            c.   59863920

            d.   60280854

            e.   60421755

            f.   60294032

            g.   60415827

            h.   60275996

            i.   60286762



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            j.   60428522

            k.   60234219

            l.   60404517

      38.   The following CTs are associated with

G.Phizzlee@gmail.com (ACCOUNT 1) and further list

Giovannidagostino3@gmail.com (ACCOUNT 2) along with (773) 524-

0688 (DAGOSTINO’s Phone) on each tip.

            a.   60181910 (described above)

            b.   60427002

            c.   60441586

            d.   60559732

            e.   60478320

            f.   60128158

            g.   60195942

            h.   61168953

            i.   60539333

            j.   60495087

            k.   60581894

            l.   61185086

            m.   60964158
      D.    Further Investigation by Detective Soler

      39.   Detective Soler conducted a record check of the name

Giovanni DAGOSTINO and the phone number (773) 524-0688

(DAGOSTINO’s Phone).     Detective Soler learned on that August 25,

2019, DAGOSTINO provided DAGOSTINO’s Phone to law enforcement as

his contact phone number.      DAGOSTINO provided this number during

an investigation into a traffic collision that was being



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conducted by the Ventura County Sheriff’s Department.           That

report is identified as RB# 19-133777.        During that

investigation, DAGOSTINO provided a home address of 294 Calle La

Granada, Camarillo, California 93010 (Camarillo Address).

During the traffic collision, DAGOSTINO was driving a 2015 Honda

Civic with California License Plate 7JHJ312.         The Civic was

registered to Juan Alfonso Barajas and Amanda L. Dagostino, with

the address 18315 Par Lane, Victorville, California 92395

(Victorville Address).      As stated above, the Victorville Address

and the Camarillo Address are associated with IP addresses in

CTs.

       40.   Detective Soler also learned DAGOSTINO was employed by

the Department of the Navy, at Naval Base Ventura County, Point

Mugu, in Ventura County.      Based on the information provided to

me from Detective Soler, and through my position at NCIS, I

learned DAGOSTINO is an active duty service member of the Navy

and is assigned to Point Mugu Naval Air Station in Ventura

County.

       41.   The address DAGOSTINO provided during the traffic

collision investigation (Camarillo Address) is the address

associated with a Camarillo Navy housing lease for DAGOSTINO.

The lease was provided to me by the District Manager for

Camarillo Navy Housing.      According to that lease, DAGOSTINO

began residing at the Camarillo Address on May 22, 2019 until he

vacated it on December 13, 2019.       When he vacated the Camarillo

Address, DAGOSTINO left Camarillo Navy Housing a forwarding




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address of “8696 Silverwood Lake P.O. Box, Victorville, CA92395-

5129.”

      42.   Through my position at NCIS, I learned DAGOSTINO’s

residential address and I shared that with Detective Solder.

DAGOSTINO’s residential address with the Navy, at least as of

April 2020, was 18315 Par Lane, Victorville, California 92395

(Victorville Address).

      43.   As explained above, one of the registered owners of

the Civic from the August 2019 traffic incident is Amanda L.

Dagostino.    According to Navy military records, Amanda L.

Dagostino is DAGOSTINO’s wife.
      E.    Victorville Investigation

      44.   Based on the information provided by Google, Charter

Communications (Spectrum), and the Navy, law enforcement

concluded that, at least as of April 2020, DAGOSTINO maintained

a primary residence in Victorville.         Detective Soler contacted

San Bernardino County Sheriff Detective Brian Arias to assist

with the investigation following the conclusion concerning

DAGOSTINO’s primary residence.

      45.   On Wednesday, April 8, 2020, Victorville Sheriff

Deputy Vanayes Quezada drove by 18315 Par Lane, Victorville,

California 92395 (Victorville Address).         Deputy Quezada saw a

white Honda Civic with California License Plate 7JHJ312 parked

in front of the drive way of the Victorville Address.           This

appeared to be the same Civic driven by DAGOSTINO during the

August 2019 traffic incident and that is registered to Juan

Alfonso Barajas and Amanda L. Dagostino.         Deputy Quezada also



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observed a black Land Rover SUV, parked in the driveway of the

Victorville Address.     The SUV had California License Plate

8LJX839.    A record check of the SUV showed that it is registered

to DAGOSTINO and his wife.

      46.   Based on the information gathered by the Ventura

County Sheriff’s Department, NCIS, Google, Charter

Communications, and the San Bernardino County Sheriff’s

Department, Detective Arias authored a search warrant for 18315

Par Lane, Victorville, California 92395 (Victorville Address).

On April 9, 2020, the Honorable Judge Cara Hudson, Superior

Court Judge for the County of San Bernardino, reviewed and

issued a residential search warrant.

      47.   On Wednesday, April 15, 2020, Deputy Arias and I

executed the search warrant at the Victorville Address.

      48.   During the search, Deputy Arias seized DAGOSTINO’s

(1) Apple iPhone X (his personal cellular telephone) with serial

number F17VXBKJJCL8 and IMEI 353045095087407, (2) Scandisk SD

data card, from a camera bag in DAGOSTINO’s bedroom, (3) Apple

MacBook Laptop, model A1708 with serial number FVFVT1GXHV29 and

FCC ID BCGA1708, and (4) X-Box 1 gaming device with serial

number 313316452948 and FCC ID C3K1525 (SUBJECT DEVICES).

      49.   When we executed the search warrant, Deputy Arias and

I interviewed Amanda Dagostino, DAGOSTINO’s wife, who was

currently residing with her father at the Victorville Address.

Amanda Dagostino confirmed that DAGOSTINO used the email

addresses G.Phizzlee@gmail.com (ACCOUNT 1),

Giovannidagostino3@gmail.com (ACCOUNT 2), and



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giovannisailor5@gmail.com (ACCOUNT 3).         Amanda Dagostino also

said that her husband told her on an unknown date he had created

a new email address:     giovannidagostino3@yahoo.com (ACCOUNT 4).

He had told her that he created the account when his

G.Phizzlee@gmail.com (ACCOUNT 1), Giovanniodagostino3@gmail.com

(ACCOUNT 2), and giovannisailor5@gmail.com (ACCOUNT 3) were

allegedly deactivated in late 2019.         According to Amanda

Dagostino, the email accounts became deactivate when DAGOSTINO

tried to load Microsoft software on his MacBook laptop.

      50.   DAGOSTINO was arrested for possession of child

pornography.    There are state charges for possession of child

pornography pending in the Superior Court for the State of

California, County of San Bernardino, but a preliminary hearing

has not yet occurred.
      F.    State Search Warrants and Other Investigation

      51.   Deputy Arias searched DAGOSTINO’s personal cellular

phone under a state search warrant.         The current application is

not based on any information found during that search.

      52.   Other than what has been described herein, to my

knowledge the United States has not attempted to obtain the

contents of the SUBJECT DEVICES by other means.
 VII. BACKGROUND ON CHILD PORNOGRAPHY, COMPUTERS, THE INTERNET,
                              AND EMAIL

      53.   Based on my training and experience, and the training

and experience of other law enforcement officers experienced in

investigating crimes involving the sexual exploitation of

children with whom I have had discussions, I know the following:




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           a.    Computers and digital technology have

dramatically changed the way in which individuals interested in

child pornography interact with each other.         Computers basically

serve four functions in connection with child pornography:

production, communication, distribution, and storage.

           b.    Child pornographers can now transfer printed

photographs into a computer-readable format with a device known

as a scanner.    Furthermore, with the advent of digital cameras

and smartphones with cameras, when the photograph is taken on a

digital camera, it is saved as a digital file that can be

directly transferred to a computer by simply connecting the

camera or smartphone to the computer.        In the last ten years,

the resolution of pictures taken by digital cameras and

smartphones has increased dramatically, meaning that such

pictures have become sharper and crisper.         Photos taken on a

digital camera or smartphone may be stored on a removable memory

card in the camera or smartphone.       These memory cards often

store up to several hundreds of gigabytes of data, which

provides enough space to store a large number of high-resolution

photographs.    Video camcorders, which once recorded video onto

tapes or mini-CDs, now can save video footage in a digital

format directly to a hard drive in the camera.          The video files

can be easily transferred from the camcorder to a computer.

Digital cameras built into smartphones make the photos even

easier to transfer onto other devices.

           c.    Modems allow any computer to connect to another

computer using telephone, cable, or wireless connection.



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Electronic contact can be made to literally millions of

computers around the world.      The ability to produce child

pornography easily, reproduce it inexpensively, and market it

anonymously (through electronic communications) has drastically

changed the method of distribution and receipt of child

pornography.     Child pornography can be transferred via

electronic mail or through file transfer protocols to anyone

with access to a computer and modem.        Because of the

proliferation of commercial services that provide electronic

mail service, chat services (i.e., “instant messaging”), and

easy access to the Internet, the computer is a preferred method

of distribution and receipt of child pornographic materials.

            d.    The computer’s ability to store images in digital

form makes the computer itself an ideal repository for child

pornography.     The size of the electronic storage media (commonly

referred to as the hard drive) used in home computers has grown

tremendously within the last several years.         These drives can

store thousands of images at very high resolution.          In addition,

there are numerous options available for the storage of computer

or digital files.     Four-terabyte external and internal hard

drives are not uncommon.      Other media storage devices include

CDs, DVDs, and “thumb,” “jump,” or “flash” drives, which are

very small devices which are plugged into a port on the

computer.    It is extremely easy for an individual to take a

photo or a video with a digital camera or camera-bearing

smartphone, upload that photo or video to a computer, and then

copy it (or any other files on the computer) to any one of those



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media storage devices (CDs and DVDs are unique in that special

software must be used to save or “burn” files onto them).

             e.   Media storage devices can easily be concealed and

carried on an individual's person.        For example, it is

particularly common for individuals to regularly carry their

smart phones on them.     These devices can store thousands of

images of child pornography and connect directly to the Internet

as well as other cellular devices.

             f.   The Internet affords individuals several

different venues for obtaining, viewing, and trading child

pornography in a relatively secure and anonymous fashion.

             g.   Individuals also use online resources to retrieve

and store child pornography, including services offered by

Internet Portals such as Google, Yahoo! and Hotmail, among

others.     The online services allow a user to set up an account

with a remote computing service that provides e-mail services as

well as electronic storage of computer files in any variety of

formats.     A user can set up an online storage account from any

computer with access to the Internet.        Even in cases where

online storage is used, however, evidence of child pornography

can be found on the user’s computer or external media in most

cases.

      54.    As is the case with most digital technology,

communications by way of computer can be saved or stored on the

computer used for these purposes.       Storing this information can

be intentional (i.e., by saving an e-mail as a file on the

computer or saving the location of one's favorite websites in,



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for example, “bookmarked” files).       Digital information can also

be retained unintentionally such as the traces of the path of an

electronic communication may be automatically stored in many

places (e.g., temporary files or ISP client software, among

others).    In addition to electronic communications, a computer

user’s Internet activities generally leave traces or

“footprints” in the web cache and history files of the browser

used.    Such information is often maintained indefinitely until

overwritten by other data.
 VIII.       TRAINING AND EXPERIENCE ON INDIVIDUALS WITH A SEXUAL
                           INTEREST IN CHILDREN

      55.   Based on my training and experience, and the training

and experience of other law enforcement officers experienced in

investigating crimes involving the sexual exploitation of

children with whom I have had discussions, I have learned that

there are certain characteristics common to individuals who

distribute and possess child pornography:

            a.   Individuals who have a sexual interest in

children or images of children may receive sexual gratification,

stimulation, and satisfaction from contact with children, or

from fantasies they may have viewing children engaged in sexual

activity or in sexually suggestive poses, such as in person, in

photographs, or other visual media, or from literature

describing such activity.

            b.   Individuals who have a sexual interest in

children or images of children may collect sexually explicit or

suggestive materials in a variety of media, including




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photographs, magazines, motion pictures, videotapes, books,

slides and/or drawings or other visual media.         Individuals who

have a sexual interest in children or images of children

oftentimes use these materials for their own sexual arousal and

gratification.    Further, they may use these materials to lower

the inhibitions of children they are attempting to seduce, to

arouse the selected child partner, or to demonstrate the desired

sexual acts.

            c.   Individuals who have a sexual interest in

children or images of children sometimes possess hard copies of

child pornography, such as pictures, films, video tapes,

magazines, negatives, photographs, correspondence, mailing

lists, books, tape recordings, etc.         As digital technology has

developed, individuals with a sexual interest in children or

images of children have become much more likely to maintain

child pornography, in digital or electronic format, stored

either on digital devices or in remote storage locations on the

Internet.    Regardless of whether these individuals collect their

child pornography in hard copy or digital format, they may

maintain their child pornography for a long period of time, even

years.   They usually maintain these collections in a safe,

secure, and private environment, such as their homes, vehicles,

or nearby, so they can view the child pornography at their

leisure.    These collections are typically highly valued.

            d.   Individuals who have a sexual interest in

children or images of children almost always maintain their

collections in a safe, secure and private environment, such as



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their home.     These collections are often kept close by, usually

at the individual’s residence, inside the possessor's vehicle,

or, at times, on their person, to enable the individual to view

the child pornography images, which are valued highly.           Some of

these individuals also have been found to download, view, and

then delete child pornography on their computers or digital

devices on a cyclical and repetitive basis.

           e.     Individuals who have a sexual interest in

children or images of children also may correspond with and/or

meet others to share information and materials, conceal such

correspondence as they do their sexually explicit material, and

often maintain lists of names, addresses, and telephone numbers

of individuals with whom they have been in contact and who share

the same interests in child pornography.         This was evidenced

here, the target of the investigation communicated with others

through a password-protected meeting room of Application A, and

shared videos of child pornography through displaying or

streaming these videos in the meeting room.

           f.     It is not uncommon for such individuals to use

smartphones for those communications, as these devices allow the

individuals to communicate with each other without being tied to

their desktop or home – the communications can occur anywhere.

Further, smartphones not only easily allow individuals to

communicate with each other via email and text messages and

easily share child pornography images, they also allow

individuals to communicate via apps geared towards private and




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secure communications that help them evade detection by law

enforcement.

           g.    Individuals who have a sexual interest in

children or images of children prefer not to be without child

pornography for any prolonged period.        This behavior has been

documented by law enforcement officers involved in the

investigation of child pornography throughout the world.

           h.    This is one of the reasons that it is not

uncommon to find child pornography on smart phones – these

phones connect directly to the Internet to allow users to view

and download child pornography on their phones, they often have

significant storage capacities to allow images and videos to be

stored, they are generally password protected and encrypted so

the devices are secure, and they allow the user to have access

to child pornography 24 hours a day, regardless of whether the

individual is at home, at work, in the bathroom, on vacation, et

cetera.

           i.    Based on my training and experience, as well as

conversations with other law enforcement officers experienced in

investigating crimes involving the sexual exploitation of

children with whom I have had discussions, I know that computers

files, including deleted digital files of child pornography,

often can be located on these individuals’ computers and digital

devices through the use of forensic tools. Indeed, the very

nature of electronic storage means that evidence of the crime is

often still discoverable for extended periods of time even after

the individual “deleted” it.       When a person “deletes” a file on



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a home computer, the data contained in the file does not

actually disappear; rather, that data remains on the hard drive

until it is overwritten by new data.        Therefore, deleted files,

or remnants of deleted files, may reside in free space or slack

space that is, in space on the hard drive that is not allocated

to an active file or that is unused after a file has been

allocated to a set block of storage space for long periods of

time before they are overwritten.       In addition, a computer’s

operating system may also keep a record of deleted data in a

“swap” or “recovery” file.      Similarly, files that have been

viewed via the Internet are automatically downloaded into a

temporary Internet directory or cache.        The browser typically

maintains a fixed amount of hard drive space devoted to these

files, and the files are only overwritten as they are replaced

with more recently viewed Internet pages.         Thus, the ability to

retrieve residue of an electronic file from a hard drive depends

less on when the file was downloaded or viewed than on a

particular user’s operating system, storage capacity, and

computer habits.     Because computer evidence is recoverable after

long periods of time, and because there is probable cause to

believe that persons at the Victorville Address and the

Camarillo Address were once in possession of child pornography

and likely obtained it from some as yet unidentified source,

there is probable cause to believe that evidence of activity

related to the possession and distribution of child pornography,

will be found on digital devices recovered from the Victorville

Address.



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            IX. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

      56.   As used herein, the term “digital device” includes the

SUBJECT DEVICES.

      57.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

            a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

            b.   Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable



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data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

            c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

            d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

      58.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

in a short period of time for a number of reasons, including the

following:

            a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which



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may take substantial time, particularly as to the categories of

electronic evidence referenced above.

            b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

      59.   The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

            a.   Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

            b.   In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the



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opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

            c.     The person who is in possession of a device or

has the device among his or her belongings is likely a user of

the device.      Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress Giovanni DAGOSTINO’s thumb- and/or

fingers on the device(s); and (2) hold the device(s) in front of

Giovanni DAGOSTINO’s face with his or her eyes open to activate

the facial-, iris-, and/or retina-recognition feature.

      60.    Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

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                              X. CONCLUSION

      61.   For all of the reasons described above, there is

probable cause to believe that the items to be seized described

in Attachment B, which constitute evidence, fruits, and

instrumentalities of violations of the Subject Offenses, will be

found in a search of the SUBJECT DEVICES described in Attachment

A.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____ day of
July, 2020.



UNITED STATES MAGISTRATE JUDGE




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